Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Mary
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        C
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Orwig
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4128
     Individual Taxpayer
     Identification number
     (ITIN)




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                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 2440 E Sherry Ln
                                 San Tan Valley, AZ 85140
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Pinal
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any              have lived in this district longer than in any other
                                         other district.                                               district.

                                         I have another reason.                                        I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities                                                        $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Mary C Orwig
                                 Mary C Orwig                                                      Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     February 21, 2018                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Lawrence'D' Pew                                                Date         February 21, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Lawrence'D' Pew 024507
                                Printed name

                                Pew Law Center, PLLC
                                Firm name

                                1811 S Alma School Rd #260
                                Suite 260
                                Mesa, AZ 85210
                                Number, Street, City, State & ZIP Code

                                Contact phone     480-269-9545                               Email address         legal1@pewlaw.com
                                024507 AZ
                                Bar number & State




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                                                             03621-AZ-CC-030602613




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 21, 2018, at 3:06 o'clock PM EST, Mary C Orwig
received from Credit Card Management Services, Inc. d/b/a Debthelper.com, an
agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the
District of Arizona, an individual [or group] briefing that complied with the
provisions of 11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 21, 2018                      By:      /s/Kenslande Jeanbart


                                               Name: Kenslande Jeanbart


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).


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                                                                       District of Arizona
 In re      Mary C Orwig                                                                              Case No.
                                                                                Debtor(s)             Chapter    13




                                                                     DECLARATION


            I, Mary C Orwig , do hereby certify, under penalty of perjury, that the Master Mailing List, consisting of   5     sheet(s), is

complete, correct and consistent with the debtor(s)' schedules.




 Date: February 21, 2018                                             /s/ Mary C Orwig
                                                                     Mary C Orwig
                                                                     Signature of Debtor

 Date: February 21, 2018                                             /s/ Lawrence'D' Pew
                                                                     Signature of Attorney
                                                                     Lawrence'D' Pew 024507
                                                                     Pew Law Center, PLLC
                                                                     1811 S Alma School Rd #260
                                                                     Suite 260
                                                                     Mesa, AZ 85210
                                                                     480-269-9545 Fax: 480-452-1142




                                                                                                                                      MML-5

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720 MAIN AVE, FARGO
FARGO ND 58103



AMEX
CORRESPONDENCE
PO BOX 981540
EL PASO TX 79998


AMEX
PO BOX 297871
FORT LAUDERDALE FL 33329


ARIZONA DEPARTMENT OF REVENUE
C/O TAX, BANKRUPTCY & COLLECTION SERV.
1275 W WASHINGTON AVE
PHOENIX AZ 85007


AT&T BANKRUPTCY DEPT.
5407 ANDREWS HIGHWAY
MIDLAND TX 79706


BANNER HEALTH
22639 N. 17TH AVE
PHOENIX AZ 85027


BANNER URGENT CARE
PO BOX 2916
5018 N 7TH ST
PHOENIX AZ 85062


BEST BUY
PO BOX 60102
CITY OF INDUSTRY CA 91716


CAPITAL ONE
ATTN: GENERAL CORRESPONDENCE/BANKRUPTCY
PO BOX 30285
SALT LAKE CITY UT 84130


CAPITAL ONE
15000 CAPITAL ONE DR
RICHMOND VA 23238




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CITI
PO BOX 688959
DES MOINES IA 50368-8959


CITY OF QUEEN CREEK
22358 S. ELLSWORTH ROAD
QUEEN CREEK AZ 85142


CONVERGENT OUTSOURCING INC
10750 HAMMERLY BLVD #200
HOUSTON TX 77043


CONVERGENT OUTSOURCING, INC
PO BOX 9004
RENTON WA 98057


CONVERGENT OUTSOURCING, INC
800 SW 39TH ST
RENTON WA 98057


CRETA LAW FIRM
2725 W INDIAN SCHOOL RD
AVONDALE AZ 85392


CROWN ASSET MANAGEMENT, LLC
3100 BECKINGRIDGE BLVD STE 725
DULUTH GA 30096


DAKOTA PLAINS CR UNION



DAKOTA PLAINS CR UNION



DESERT MOUNTAIN CHIROPRACTIC
21321 E OCOTILLO RD #121
QUEEN CREEK AZ 85142


EAST MESA BUSINESS OFFICE
55 N CENTER ST
MESA AZ 85201




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ERICHA CHISHOLM
605 DAKOTA AVE SUITE 3, WAHPETON,
WAHPETON ND 58075


FAMILY DENTAL CARE
221 6TH AVE SE
ABERDEEN SD 57401


FARM BUREAU
10240 N 31ST AVE
PHOENIX AZ 85051


FARMERS UNION INSURANCE
5619 DTC PARKWAY SUITE300
ENGLEWOOD CO 80111


GARAAS LAW FIRM
1314 23RD STREET SOUTH
FARGO ND 58103


GARY T HAYDON
4640 E COTTON GIN LOOP
PHOENIX AZ 85044


GREAT WESTERN BANK
119 6TH AVE SE
ABERDEEN SD 57401


HAMMERMAN & HULTGREN, P.C.
3101 NORTH CENTRAL AVENUE
SUITE 500
PHOENIX AZ 85012


INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PHILADELPHIA PA 19114-0326


KIMBLER
820 1ST AVE SE SUITE 400
ABERDEEN SD 57401


MEDIACOM
100 CRYSTAL RUN ROAD
MIDDLETOWN NY 10941


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MICHAEL T ANDREWS
4132 30TH AVE S
SUITE 100
FARGO ND 58106


ND BLUE CROSS BLUE SHIELD
4510 `3TH AVE SOUTH
FARGO ND 58121


PINAL COUNTY TREASURER
PO BOX 729
31 N PINAL ST # E
FLORENCE AZ 85132


PORTFOLIO RECOVERY
PO BOX 41067
NORFOLK VA 23541


PORTFOLIO RECOVERY
PO BOX 41067
NORFOLK VA 23541


PORTFOLIO RECOVERY
120 CORPORATE BLVD STE 1
NORFOLK VA 23502


PORTFOLIO RECOVERY
120 CORPORATE BLVD STE 1
NORFOLK VA 23502


REPUBLIC SERVICES
PO BOX 78040
PHOENIX AZ 85062-8040


RESOLVE INC
1395 N HAYDEN RD
SCOTTSDALE AZ 85257


SECOND ROUND, LP
PO BOX 41955
AUSTIN TX 78704


SECOND ROUND, LP
4150 FREIDRICH LANE
AUSTIN TX 78744

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SONORA QUEST LABORATORIES
PO BOX 52880
PHOENIX AZ 85072


SRP
POX 80068
PRESCOTT AZ 86304


SUN VALLEY FARMS PROPERTY OWNERS
6720 N SCOTTSDALE RD #261
PARADISE VALLEY AZ 85253


SUN VALLEY FARMS PROPERTY OWNERS
P.O BOX 1438
QUEEN CREEK AZ 85142


TIFFANY & BOSCO
2525 EAST CAMELBACK ROAD
SUITE 300
PHOENIX AZ 85016


VERIZON WIRELESS
700 CENTRAL AVE.
ALBUQUERQUE NM 87121


WEILL CORNELL MEDICINE
GPO BOX 28375
NEW YORK NY 10087


WINKLER CHIROPRACTIC CLINIC
803 S MAIN ST
ABERDEEN SD 57401




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